          Case 1:14-vv-00019-UNJ Document 34 Filed 10/24/14 Page 1 of 7




       In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                            No. 14-19V
                                    Filed: September 23, 2014

* * * * * * * * * * * * * * * *                               UNPUBLISHED
KIM EILEEN RICH,              *
                              *                               Special Master Gowen
           Petitioner,        *
                              *                               Joint Stipulation on Damages;
v.                            *                               Tetanus-diptheria-acellular pertussis
                              *                               vaccine (“Tdap”);
SECRETARY OF HEALTH           *                               Guillain Barre Syndrome (“GBS”)
AND HUMAN SERVICES,           *
                              *
           Respondent.        *
                              *
* * * * * * * * * * * * * * * *

Sol P. Ajalat, Ajalat & Ajalat, LLP, North Hollywood, CA, for petitioner.
Alexis B. Babcock, United States Department of Justice, Washington, DC, for respondent.

                           DECISION ON JOINT STIPULATION1

        On January 7, 2014, Kim Eileen Rich (“petitioner”) filed a petition pursuant to the
National Vaccine Injury Compensation Program.2 42 U.S.C. §§ 300aa-1 to -34 (2006).
Petitioner alleged that as a result of receiving a Tetanus-diptheria-acellular pertussis (“Tdap”)
vaccine on January 12, 2011, she suffered from an acquired demyelinating neuropathy, likely
Guillain Barre Syndrome (GBS). Stipulation ¶¶ 2, 4, filed Sept. 23, 2014. Further, petitioner
alleged that she experienced residual effects of her injury for more than six months. Id. at ¶ 4.
1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this ruling on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116
Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by
Vaccine Rule 18(b), each party has 14 days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in
substance and is privileged or confidential; or (2) that includes medical files or similar files, the
disclosure of which would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule
18(b).
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2006) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.


                                                 1
         Case 1:14-vv-00019-UNJ Document 34 Filed 10/24/14 Page 2 of 7



        On September 23, 2014, the parties filed a stipulation in which they state that a decision
should be entered awarding compensation. Respondent denies that the Tdap vaccination caused
petitioner’s alleged injuries, and denies that the vaccine caused any other injury or current
condition. Id. at ¶ 6. Nevertheless, the parties agree to the joint stipulation, attached hereto as
Appendix A. The undersigned finds the stipulation reasonable and adopts it as the decision of
the Court in awarding damages, on the terms set forth therein.

       The parties stipulate that petitioner shall receive the following compensation:

       A lump sum of $133,617.43, in the form of a check payable to petitioner, Kim Eileen
       Rich. This amount represents compensation for all damages that would be available
       under 42 U.S.C. § 300aa-15(a).

       Id. at ¶ 8.

       The undersigned approves the requested amount for petitioner’s compensation.
Accordingly, an award should be made consistent with the stipulation.

         The clerk of the court SHALL ENTER JUDGMENT in accordance with the terms of
the parties’ stipulation.3

       IT IS SO ORDERED.

                                             s/ Thomas L. Gowen
                                             Thomas L. Gowen
                                             Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.


                                                2
          Case 1:14-vv-00019-UNJ Document 34 Filed 10/24/14 Page 3 of 7



                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS

__________________________________________
                                          )
KIM EILEEN RICH,                          )
                                          )
                  Petitioner,             )
                                          )                  No. 14-19V
v.                                        )                  Special Master Gowen
                                          )
SECRETARY OF HEALTH AND                   )
HUMAN SERVICES,                           )
                                          )
                  Respondent.             )
__________________________________________)

                                         STIPULATION

       The parties hereby stipulate to the following matters:

       1. On January 7, 2014, Kim Rich (“petitioner”) filed a petition for vaccine compensation

under the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10 to 34 (the

“Vaccine Program”). The petition seeks compensation for injuries allegedly related to

petitioner’s receipt of the Tetanus-diphtheria-acellular pertussis (“Tdap”) vaccine, which vaccine

is contained in the Vaccine Injury Table (the “Table”), 42 C.F.R. § 100.3(a).

       2. Petitioner received a Tdap immunization on January 12, 2011.

       3. The vaccine was administered within the United States.

       4. Petitioner alleges that she suffered from an acquired demyelinating neuropathy, likely

Guillain Barre Syndrome (“GBS”) that was caused-in-fact by her Tdap vaccination. Petitioner

further alleges that she experienced residual effects of this injury for more than six months.

       5. Petitioner represents that there has been no prior award or settlement of a civil action

for damages as a result of her alleged GBS.



                                                -1-
            Case 1:14-vv-00019-UNJ Document 34 Filed 10/24/14 Page 4 of 7



        6. Respondent denies that petitioner’s alleged injuries were caused-in-fact by her Tdap

vaccination, and denies that the vaccine caused any other injury or her current condition.

        7. Maintaining their above-stated positions, the parties nevertheless now agree that the

issues between them shall be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of this Stipulation.

        8. As soon as practicable after an entry of judgment reflecting a decision consistent with

the terms of this Stipulation, and after petitioner has filed an election to receive compensation

pursuant to 42 U.S.C. § 300aa-21(a)(1), the Secretary of Health and Human Services will issue

the following vaccine compensation payment:

                A lump sum of $133,617.43 in the form of a check payable to petitioner. This
                amount represents compensation for all damages that would be available under 42
                U.S.C. § 300aa-15(a).

        9. As soon as practicable after the entry of judgment on entitlement in this case, and after

petitioner has filed both a proper and timely election to receive compensation pursuant to 42

U.S.C. § 300aa-21(a)(1), and an application, the parties will submit to further proceedings before

the special master to award reasonable attorney’s fees and costs incurred in proceeding upon this

petition.

        10. Petitioner and her attorney represent that they have identified to respondent all

known sources of payment for items or services for which the Program is not primarily liable

under 42 U.S.C. § 300aa-15(g), including State compensation programs, insurance policies,

Federal or State health benefits programs (other than Title XIX of the Social Security Act (42

U.S.C. § 1396 et seq.)), or entities that provide health services on a pre-paid basis.

        11. Payments made pursuant to paragraph 8, and any amounts awarded pursuant to

paragraph 9, of this Stipulation will be made in accordance with 42 U.S.C. § 300aa-15(i), subject


                                                 -2-
          Case 1:14-vv-00019-UNJ Document 34 Filed 10/24/14 Page 5 of 7



to the availability of sufficient statutory funds.

        12. The parties and their attorneys further agree and stipulate that, except for any award

for attorney’s fees and litigation costs and past unreimbursable expenses, the money provided

pursuant to this Stipulation will be used solely for the benefit of petitioner as contemplated by a

strict construction of 42 U.S.C. § 300aa-15(a) and (d), and subject to the conditions of 42 U.S.C.

§ 300aa-15(g) and (h).

        13. In return for the payments described in paragraphs 8 and 9, petitioner, in her

individual capacity, and on behalf of her heirs, executors, administrators, successors or assigns,

does forever irrevocably and unconditionally release, acquit and discharge the United States and

the Secretary of Health and Human Services from any and all actions or causes of action

(including agreements, judgments, claims, damages, loss of services, expenses and all demands

of whatever kind or nature) that have been brought, could have been brought, or could be timely

brought in the Court of Federal Claims, under the National Vaccine Injury Compensation

Program, 42 U.S.C. § 300aa-10 et seq., on account of, or in any way growing out of, any and all

known or unknown, suspected or unsuspected personal injuries to or death of petitioner resulting

from, or alleged to have resulted from, the Tdap vaccination administered on January 12, 2011 as

alleged in a petition for vaccine compensation filed on or about January 7, 2014, in the United

States Court of Federal Claims as petition No. 14-19V.

        14. If petitioner should die prior to entry of judgment, this agreement shall be voidable

upon proper notice to the Court on behalf of either or both of the parties.

        15. If the special master fails to issue a decision in complete conformity with the terms

of this Stipulation or if the Court of Federal Claims fails to enter judgment in conformity with a

decision that is in complete conformity with the terms of this Stipulation, then the parties’


                                                     -3-
          Case 1:14-vv-00019-UNJ Document 34 Filed 10/24/14 Page 6 of 7



settlement and this Stipulation shall be voidable at the sole discretion of either party.

        16. This Stipulation expresses a full and complete negotiated settlement of liability and

damages claimed under the National Childhood Vaccine Injury Act of 1986, as amended, except

as otherwise noted in paragraph 9 above. There is absolutely no agreement on the part of the

parties hereto to make any payment or to do any act or thing other than is herein expressly stated

and clearly agreed to. The parties further agree and understand that the award described in this

Stipulation may reflect a compromise of the parties’ respective positions as to liability and/or

amount of damages, and further, that a change in the nature of the injury or condition or in the

items of compensation sought, is not grounds to modify or revise this agreement.

        17. This Stipulation shall not be construed as an admission by the United States or the

Secretary of Health and Human Services that the Tdap vaccine caused petitioner’s alleged GBS,

or any other injury or her current disabilities.

        18. All rights and obligations of petitioner hereunder shall apply equally to petitioner’s

heirs, executors, administrators, successors, and/or assigns.

                                      END OF STIPULATION

/
/
/
/
/
/
/
/
/
/
/
/
/
/
/


                                                   -4-
Case 1:14-vv-00019-UNJ Document 34 Filed 10/24/14 Page 7 of 7
